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                                            No. 25-1281


             In the United States Court of Appeals
                     for the Fourth Circuit
                            U.S. DEPARTMENT OF EDUCATION, ET AL.,

                                                                Defendants-Appellants,
                                                  v.

             AMERICAN ASSOCIATION OF COLLEGES FOR TEACHER EDUCATION, ET AL.

                                                                  Plaintiffs-Appellees.


                         On Appeal from the United States District Court
                                 for the District of Maryland
                                      No. 1:25-cv-00702
                                The Honorable Julie R. Rubin
                                ________________________

                                     BRIEF OF APPELLEES
                                    ________________________

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                                          INTRODUCTION

              Appellees filed this case seeking a declaratory judgment that the Department

        of Education’s (the “Department”) mass and indiscriminate termination of grants for

        teacher preparation programs was unlawful and an injunction pursuant to the

        Administrative Procedure Act, 5 U.S.C. § 701 et seq. (the “APA”) ordering the

        Department to reinstate the grants. All of the grants at issue were terminated for the

        same stated reasons and by means of a misuse of the same statutory provision, 2

        C.F.R. § 200.340(a)(4) (“Section 340(a)(4)”), which permits termination of grants

        that “no longer effectuate agency priorities.” The Department’s misuse of Section

        340(a)(4) is the basis for this action.

              The terminated grants arose under three programs that Congress authorized to

        prepare educators in the United States and help mitigate dramatic teacher shortages,

        especially in high-need communities. While the grants were in the midst of approved

        budget periods, the Department sent form termination letters (the “Termination

        Letters”) lacking any individualized consideration to Grant Recipients 1 informing

        them that the grants are “inconsistent with, and no longer effectuate[], Department

        priorities.” The remainder of the boilerplate letters recited a disjunctive list of five

        nonspecific ways in which the specific grant might be “inconsistent” with


        1
          NCTR and the member organizations of NCTR, ACTE, and MACTE with
        terminated grants are referred to herein as the “Grant Recipients.”
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        Department Priorities.

              The district court issued a preliminary injunction having concluded that the

        Department’s actions likely violate the APA for multiple reasons. First, Priorities for

        any Education Department grant program must be set by Congress or through notice

        and comment rulemaking, which the Department did not do here. Because the

        Department Priorities have not changed, and there is nothing in the record to support

        a conclusion by the Department that the grants fail to effectuate the still-current

        Priorities, the district court appropriately found that the Department’s termination

        was likely arbitrary and capricious. The district court also properly found a likely

        APA violation because the boilerplate reasons, such as they were, that the

        Department provided for the terminations were not reasonably explained and failed

        to reflect individualized consideration.

              As the district court correctly found when the Government raised it for the

        first time on reconsideration, the Tucker Act is no jurisdictional bar to relief. This is

        not a contract dispute; it is, as the Government earlier conceded, a straightforward

        APA case. See J.A. 590 (“I don’t know if anything is straightforward in this

        administration, but it’s a straightforward APA case[.]”). The Government’s “agency

        discretion” argument also fails because there are numerous statutory and regulatory

        provisions that cabin the Department’s authority in ways that provide “meaningful

        standards” for judicial review.



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              The district court likewise correctly concluded that the Government’s

        concession of irreparable harm to the Grant Recipients was correct, and that

        Appellees had made a clear showing that their members will suffer irreparable harm

        in the absence of an injunction. It also correctly concluded that the balance of the

        equities and public interest tips in Appellees’ favor here where the injunction would

        restore the status quo had the grants not been unlawfully terminated. The potential

        harm to Appellees is existential—threatening the very existence of members’

        services or work; the purported harm to the Government pales in comparison. Even

        still, the Grant Recipients’ ability to draw down funds and the ability of the

        Government to recover funds are subject to federal regulatory safeguards, and,

        during the pendency of the preliminary injunction, the Government did not provide

        any evidence of any improper attempt to draw down by any Grant Recipient.

              Finally, the district court appropriately tailored its order to apply to the grant

        awards of NCTR and Appellees’ member grant recipients. In doing so, the district

        court carefully considered the scope of its injunction to be no more burdensome than

        necessary.

              This Court should affirm the district court’s entry of a preliminary injunction

        and vacate its stay order.




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                          COUNTER-STATEMENT OF THE ISSUES

              1.     Whether the district court correctly determined that it possessed

        jurisdiction under 28 U.S.C. § 1331.

              2.     Whether, upon finding that Appellees are likely to succeed on the

        merits of their APA claim, the district court properly issued a preliminary injunction.

                                    STATEMENT OF THE CASE

         I.   FACTUAL BACKGROUND

              A.     Overview of TQP, SEED, and TSL Grants and Department
                     Priorities.

                     1.     Congress Created and Funded the TQP, SEED, and TSL
                            Grants.
              Congress authorized three programs to prepare and develop educators in the

        United States: the Teacher Quality Partnership Program (“TQP”), the Supporting

        Effective Educator Development Program (“SEED”), and the Teacher and School

        Leader Incentive Program (“TSL”). The Teacher Quality Partnership Grant Program

        provides funding to eligible partnerships to improve student achievement and the

        quality of prospective and new teachers by improving the preparation of prospective

        teachers and enhancing professional development activities for new teachers. See 20

        U.S.C. § 1022. The Supporting Effective Educator Development Program provides

        funding to increase the number of highly effective educators in the United States by

        supporting the implementation of evidence-based practices that prepare, develop, or

        enhance the skills of educators. See 20 U.S.C. § 6672. The Teacher and School


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        Leader Incentive Program provides funding to serve educators in high-need schools

        who raise student academic achievement and close the achievement gap between

        high- and low-performing students. TSL helps develop, implement, improve, or

        expand comprehensive performance-based compensation systems or human capital

        management systems for teachers, principals, or other school leaders. See 20 U.S.C.

        § 6632.

              Congress directed the Secretary of the Department of Education (the

        “Secretary”) to award grants, on a competitive basis, to eligible entities to provide

        funding consistent with the goals of TQP (20 U.S.C. § 1022a(a)), SEED (20 U.S.C.

        § 6672(a)), and TSL (20 U.S.C. § 6632(a)).

                     2.     Regulations Governing Grant Terminations.
              Federal regulation permits the Department of Education to terminate grants if

        they no longer effectuate Department of Education Priorities. See 2 C.F.R.

        § 200.340(a)(2) (2020); 2 C.F.R. § 200.340(a)(4) (2024). 2 “Department Priorities,”

        however, is a term of art; in order to establish its Priorities, the Department must, by

        statute and regulation, go through a notice and comment rulemaking process. See 20

        U.S.C. § 1232(d); 34 C.F.R. § 75.105(b)(2).




        2
          While the parties dispute the particular provision applicable here, it is immaterial
        to the disposition of this appeal.

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                     3.     Statute and Department Regulation Requirements for
                            Setting Priorities.
              To set Department Priorities, the Secretary is required to publish agency

        Priorities in the Federal Register, which must be used to select the Priorities for a

        competition, and must have gone through public comment (there are five exceptions

        to this rule, but none are implicated here). The Secretary is likewise required to

        establish the specific Priorities that are included in the application for each

        competitive federal grant program, such as TQP, SEED, and TSL, by publishing the

        Priorities in the Notice Inviting Application for the grant in the Federal Register. 34

        C.F.R. § 75.105(b)(1).

              As a federal agency, the Department is unique in the statutory requirement it

        has to follow for setting agency Priorities for discretionary grants. While the

        Administrative Procedures Act (5 U.S.C. § 553) generally exempts federal agency

        grants from the rulemaking process, the General Education Provisions Act

        (“GEPA”) (20 U.S.C. § 1232(d)) alters that rule for the Department of Education;

        for the Department, the grants exemption for rulemaking only applies to regulations

        (1) that govern the first grant competition under a new or substantially revised

        program authority as determined by the Secretary; or (2) where the Secretary

        determines rulemaking will cause extreme hardship to the intended beneficiaries of

        the program. 20 U.S.C. § 1232(d).




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              In sum, the Priorities for grant programs administered by the Department must

        go through the notice and comment rulemaking process. 3

              Germane here, the Department held competitions for TQP grants in 2020,

        2022, and 2024. It also held competitions for SEED grants in 2022, and a

        competition for TSL grants in 2023. For each of these competitions, and in

        compliance with statute and Department regulation, the Priorities were set either by

        Congress in the program’s authorizing statute or through notice and comment

        rulemaking. 85 F.R. 29691-29704; 87 F.R. 10906-10923; 89 F.R. 23573-23592; 87

        F.R. 19487-19496; 88 F.R. 33592-33601.

                     4.     Department of Education Priorities Applicable to Now-
                            Terminated TQP, SEED, and TSL Grants.
              In 2019-2021, the Department established a set of allowable Department

        Priorities through the proper notice and comment rulemaking process. First, after

        going through the proper notice and comment rulemaking process, the Department

        published its Notice of Final Priority for discretionary grant programs in the Federal

        Register on November 27, 2019. 84 F.R. 65300-65303. 4 Second, also after the notice

        and comment rulemaking process, the Department published a Notice of Final



        3
         While there are limited exceptions to this rule, none of the exceptions are applicable
        to the analysis here. See 34 C.F.R. 75.105(b)(2).
        4
         The Department of Education published a Notice of Proposed Priorities for public
        comment on July 29, 2019. 84 F.R. 36504-36507.


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        Priorities for all discretionary grant programs in the Federal Register on March 9,

        2020.5 85 F.R. 13640-13644. Then the Department went through the proper notice

        and comment rulemaking process once again and published its Notice of Final

        Priorities for TQP, SEED, and TSL grant competitions in the Federal Register on

        July 9, 2021. 6 86 F.R. 36217-36220. That same day, again after the proper notice

        and comment rulemaking process, the Department published a Notice of Final

        Priority specific for TSL. 7

              Finally, the Department went through the required notice and comment

        rulemaking process and published a Notice of Final Priorities for the Secretary’s

        Supplemental Priorities for all discretionary grant programs in the Federal Register

        on December 10, 2021. 8 86 F.R. 70612-70641.




        5
         The Department of Education published a Notice of Proposed Priorities for public
        comment on November 29, 2019. 84 F.R. 65734-65739.
        6
         The Department of Education published a Notice of Proposed Priorities for public
        comment on April 20, 2021. 86 F.R. 20471-20475.
        7
         The Department of Education published a Notice of Proposed Priority for public
        comment on April 9, 2021. 86 F.R. 18519-18523.
        8
         The Department of Education published a Notice of Proposed Priorities for public
        comment on June 30, 2021. 86 F.R. 34664-34674.


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              B.       AACTE’s and MACTE’s Member Organizations and NCTR and
                       its Member Organizations were Awarded TQP, SEED, and/or TSL
                       Grants.

                       1.    Notice Inviting Applications for FY 2020, FY 2022, and FY
                             2024 TQP Grants.
              Three TQP competitions are relevant to this civil action. First, on May 18,

        2020, the Department published a Notice Inviting Applications for the FY 2020 TQP

        competition inviting applicants to apply for the grant funds. 85 F.R. 29691-29704.

        Second, on February 25, 2022, the Department published a Notice Inviting

        Applications for the FY 2022 TQP competition inviting applicants to apply for the

        grant funds. 87 F.R. 10906-10923. Third, the Department published a Notice

        Inviting Applications for the FY 2024 TQP competition on April 4, 2024 inviting

        applicants to apply for the grant funds. 89 F.R. 23573-23592.

              The project period for the FY 2020, FY 2022, and FY 2024 TQP competitions

        (the maximum amount of time for which the grants can be awarded) was up to five

        years. 85 F.R. 29699, 87 F.R. 10918, 89 F.R. 23587. All three TQP grant

        competitions included Priorities that were established through the required notice

        and comment rulemaking process or chosen from allowable activities specified in

        TQP’s authorizing statute (20 U.S.C. § 1022).

              Grant Recipients were selected to receive funding from the FY 2020 TQP, FY

        2022 TQP, and FY 2024 TQP competitions for up to a five-year period for each

        competition.


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                       2.    Notice Inviting Applications for FY 2022 SEED Grants.
              On April 4, 2022, the Department published a Notice Inviting Applications

        for the FY 2022 SEED competition, inviting applicants to apply for the grant funds.

        87 F.R. 19487-19496. The project period for the FY 2022 SEED competition was

        up to three years. 87 F.R. 19492. Just like the TQP grant competitions, the SEED

        grant competition included Priorities that were established through the required

        notice and comment rulemaking process or chosen from allowable activities

        specified in SEED’s authorizing statute (20 U.S.C. § 6672). Grant Recipients were

        selected to receive funding from the FY 2022 SEED competition for up to a three-

        year period.

                       3.    Notice Inviting Applications for FY 2023 TSL Grants.
              Finally, one TSL grant competition is relevant to this action. On May 24,

        2023, the Department published a Notice Inviting Applications for the FY 2023 TSL

        competition, inviting applicants to apply for the grant funds. 88 F.R. 33592-33601.

        The project period for the FY 2023 TSL competition was up to three years. 88 F.R.

        33598. As with the TQP and SEED grant competitions, the TSL grant competition

        also included Priorities that were established through the required notice and

        comment rulemaking process or chosen from allowable activities specified in TSL’s

        authorizing statute 20 U.S.C. § 6632. Grant Recipients were selected to receive

        funding from the FY 2023 TSL competition for up to a three-year period.



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              The five-year TQP grants, three-year SEED grants, and/or three-year TSL

        grants all remained active through early to mid-February 2025.

              C.     The Department’s Termination of the TQP, SEED, and TSL
                     Grants in February 2025.

              With no notice, and without lawful reason, the Department sent Termination

        Letters and updated Grant Award Notifications (“GANs”) to the majority of the

        Grant Recipients in February 2025, informing them that their TQP, SEED, and TSL

        grants were terminated, effective immediately on the date of the letter. 9 The

        substance of every one of the Termination Letters sent to the Grant Recipients are

        identical, indicating the same reasons with the same terminology for the grant

        terminations. See, e.g., J.A. 135-48.

              While the Termination Letters provide that the Grant Recipients may

        challenge the termination decision by submitting information documenting their

        position in writing to the Department within thirty days, the termination of funding

        was effective on the date of notification in February 2025.

              In both the GANs and the Termination Letters, the purported basis provided

        by the Department for termination was that the grants are “inconsistent with, and no




        9
          While the Department terminated the majority of the Grant Recipients’ grants,
        some of Appellees’ member organizations did not have their TQP grants terminated.


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        longer effectuate[], Department priorities.” In the Termination Letters, the

        Department went on to explain that:

                    It is a priority of the Department of Education to eliminate
                    discrimination in all forms of education throughout the United
                    States. The Acting Secretary of Education has determined that,
                    per the Department’s obligations to the constitutional and
                    statutory law of the United States, this priority includes ensuring
                    that the Department’s grants do not support programs or
                    organizations that promote or take part in diversity, equity, and
                    inclusion (“DEI”) initiatives or any other initiatives that
                    unlawfully discriminate on the basis of race, color, religion, sex,
                    national origin, or another protected characteristic. Illegal DEI
                    policies and practices can violate both the letter and purpose of
                    Federal civil rights law and conflict with the Department’s policy
                    of prioritizing merit, fairness, and excellence in education….the
                    grant specified above provides funding for programs that
                    promote or take part in DEI initiatives or other initiatives that
                    unlawfully discriminate on the basis of race, color, religion, sex,
                    national origin, or another protected characteristic; that violate
                    either the letter or purpose of Federal civil rights law; that
                    conflict with the Department’s policy of prioritizing merit,
                    fairness, and excellence in education; that are not free from fraud,
                    abuse, or duplication; or that otherwise fail to serve the best
                    interests of the United States. The grant is therefore inconsistent
                    with, and no longer effectuates, Department priorities.

              D.    The Effects of Termination on Appellees and Their Member
                    Organizations.

                    1.     Effect of Grant Terminations on Ability to Maintain Programs.

              As of the date of the Termination Letters, the Department terminated funding,

        thereby cutting off the Grant Recipients’ funding 10 from the Department that they


        10
           Grant funding was briefly reinstated during the pendency of the preliminary
        injunction until this Court granted the Government’s motion to stay pending appeal.
        Dkt. No. 30.

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        were awarded pursuant to the TQP, SEED, and TSL grants. J.A. 162-66 (Declaration

        of Kathlene Campbell on behalf of NCTR (“NCTR Declaration”) at ¶ 12); J.A. 179-

        82 (Declaration of Carolyn Parker on behalf of American University (“AU

        Declaration”) at ¶ 12); J.A. 193-96 (Declaration of Amy Smith on behalf of the

        University of St. Thomas (“UST Declaration”) at ¶ 12); J.A. 215-20 (Declaration of

        Heather Kirkpatrick on behalf of Alder Graduate School of Education (“Alder GSE

        Declaration”) at ¶ 11); J.A. 239-45 (Declaration of Sarah Johnson on behalf of

        Teaching Lab (“Teaching Lab Declaration”) at ¶ 12). Without the TQP, SEED, and

        TSL grants, Grant Recipients are unable to continue funding their work, which in

        turn imperils the programs of the Grant Recipients’ very existence. The harm to

        Appellees and their member organizations has been severe, and a continuation of the

        harm is certain and irreparable in the absence of continued injunctive relief. See e.g.,

        J.A. 165 (NCTR Declaration at ¶¶ 13-18); J.A. 181-82 (AU Declaration at ¶¶ 13-

        16); J.A. 196 (UST Declaration at ¶¶ 13-14); J.A. 217-19 (Alder GSE Declaration at

        ¶¶ 12-20); J.A. 242-44 (Teaching Lab Declaration at ¶¶ 17-26).

              For example, the termination of Appellee NCTR’s SEED grant deprives it the

        ability to serve K-12 school districts where there is high turnover and shortages of

        teachers and prepare educators for careers to help mitigate these teacher shortages.

        J.A. 165-66 (NCTR Declaration at ¶ 18). In addition, absent Court intervention to

        reinstate American University’s TQP grant, it will be forced to shut down its teacher



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        preparation program for special education and early childhood education, impacting

        up to 1,500 Washington D.C. children and 48 future educators. J.A. 181-82 (AU

        Declaration at ¶¶ 13-14). Similarly, the University of St. Thomas is at risk of losing

        its student pipeline in areas of high-need, such as special education, as a result of the

        loss of funding for its teacher preparation program, see J.A. 196 (UST Declaration

        at ¶ 13), and the termination of TQP grant funds for Alder Graduate School of

        Education has had and will continue to have immense impacts for more than 100

        aspiring teacher candidates and mentor teachers, and hundreds of K-12 students at

        partner school systems. J.A. 217-28 (Alder GSE Declaration at ¶¶ 13-16). In

        addition, the termination of TSL grant funds will result in a loss of curriculum-based

        professional learning and coaching services by a non-profit organization, Teaching

        Lab, impacting more than 40 public schools and more than 150 teachers, whose

        instruction in turn reaches well over 6,000 K-12 students. J.A. 240 (Teaching Lab

        Declaration at ¶¶ 8-9).

              As a direct result of the termination of the grants, Appellees’ member

        organizations will see a decline in enrollment. This will exacerbate the on-going

        teacher shortages nationwide and thwart their efforts to prepare future educators for

        success.

              Finally, the termination of the Grant Recipients’ grants imperils their ability

        to perform their primary missions as nonprofit membership organizations that



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        depend on grants to fulfill their primary purposes for existence. See e.g., J.A. 165-

        66 (NCTR Declaration at ¶¶ 17-19); J.A. 182 (AU Declaration at ¶ 17); J.A. 196

        (UST Declaration at ¶ 15); J.A. 219 (Alder GSE Declaration at ¶ 20); J.A. 245

        (Teaching Lab Declaration at ¶¶ 30).

                     2.    Effect of Special Condition on Grants.

              In addition to the immediate and irreparable effects of terminating the grants,

        the Department added a special condition to impacted grants requiring prior approval

        for them to draw down funds, referred to as “route pay.” In violation of Federal

        regulations, the Department did not provide any notice or explanation for this

        blanket condition imposed on terminated grants. See 2 C.F.R. § 200.208. This new,

        unlawfully-imposed condition caused delays in the Grant Recipients receiving their

        grant funds and added subjectivity to already approved costs. Based on this past

        conduct, the Grant Recipients reasonably fear that the Government will impose such

        a condition again if the Court reinstates the injunction, which will provide further

        opportunities for the Department to unlawfully deprive them of funding.

        II.   PROCEDURAL BACKGROUND

              Appellees filed suit on March 3, 2025, J.A. 9-47, and requested injunctive

        relief to reinstate the unlawfully terminated grants. J.A. 48-88. The Government

        responded on March 11, J.A. 260-91, and the Court heard argument two days later.

        J.A. 534-622. On March 17, the district court granted Appellees’ motion in part and



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        ordered the Department to reinstate the grants at issue on the “terms and conditions

        in place immediately prior to issuance of Termination Letters[.]” J.A. 637-86.

              On March 18, the Government filed an Emergency Motion for

        Reconsideration that the district court denied, concluding that the Tucker Act does

        not divest it of jurisdiction and that the grants’ terminations were not committed to

        agency discretion. J.A. 687-99. On March 20, the Government filed a motion to stay

        the injunction pending appeal that the district court denied. J.A. 700-09. The

        Government noted this appeal on March 21. J.A. 712.

              Before this Court, the Government moved for a stay pending appeal,

        Appellees opposed, and this Court granted the motion to stay. Dkt. Nos. 12, 19, 26,

        30.

                               SUMMARY OF THE ARGUMENT

              This Court should affirm the district court’s entry of a preliminary injunction.

        First, the district court correctly determined that the Tucker Act does not divest it of

        jurisdiction. This “straightforward APA case,” J.A. 590, belongs in the district court

        because Appellees seek forward-looking equitable relief for straightforward

        violations of the APA, and any incidental monetary relief Appellees will receive as

        a result of its claims is not “money damages,” it is equitable relief, as the Supreme

        Court explained in Bowen v. Massachusetts, 487 U.S. 879, 893 (1988). Precisely




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        because Appellees seek a declaration and injunction under the APA, the Court of

        Federal Claims cannot grant relief within the bounds of its own jurisdiction.

              Second, the Government’s “agency discretion” argument fails because there

        are numerous statutory and regulatory provisions that cabin the Department’s

        authority in ways that provide “meaningful standards” for judicial review.

              Third, the Government twists the balance of equities analysis and is wrong

        twice over. Not only did the Government concede below that Appellees suffer

        irreparable harm in the absence of a preliminary injunction—a concession they

        cannot abandon now—the Government’s argument misapprehends the key issue

        before the Court: whether Appellees are likely to suffer irreparable harm. Appellees

        persuasively established, and the district court correctly found, irreparable harm to

        be the result of the Department’s wrongful grant terminations.

              Fourth, the district court’s preliminary injunction is properly tailored. The

        preliminary injunction issued by the district court is “no more burdensome than

        necessary” to provide relief to Appellees and those similarly situated and provides

        relief to only the parties that appeared before it.

              For these reasons explained more fully below, this Court should affirm the

        issuance of the preliminary injunction.

                                     STANDARD OF REVIEW

              This Court reviews a district court’s grant of a preliminary injunction for



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        abuse of discretion. Mountain Valley Pipeline, LLC v. 6.56 Acres of Land, Owned

        by Sandra Townes Powell, 915 F.3d 197, 213 (4th Cir. 2019). Because this is a

        “deferential standard, . . . so long as ‘the district court’s account of the evidence is

        plausible in light of the record viewed in its entirety, [this Court] may not reverse,’

        even if [it is] ‘convinced that . . . [it] would have weighed the evidence differently.’”

        Id. (quotation omitted). Accordingly, this Court reviews “factual findings for clear

        error and legal conclusions de novo.” WV Ass’n of Club Owners & Fraternal Servs.,

        Inc. v. Musgrave, 553 F.3d 292, 298 (4th Cir. 2009).

                                            ARGUMENT

         I.        THE DISTRICT COURT CORRECTLY DETERMINED THAT
                   APPELLEES ARE ENTITLED TO A PRELIMINARY
                   INJUNCTION.

              A.     The District Court Correctly Assured Itself of Jurisdiction.

                          1. The Grants at Issue are Not Contracts Subject to the Tucker
                              Act.

              District courts have jurisdiction over “all civil actions arising under the

        Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. Congress

        authorized judicial review by district courts under the APA in suits challenging

        agency actions that seek “relief other than money damages.” 5 U.S.C. § 702.

              The mere fact “that a judicial remedy may require one party to pay money to

        another is not a sufficient reason to characterize the relief as ‘money damages.’”

        Bowen v. Massachusetts, 487 U.S. 879, 893 (1988). The Supreme Court has “long



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        recognized the distinction between an action at law for damages—which are

        intended to provide a victim with monetary compensation for an injury to his person,

        property, or reputation—and an equitable action for specific relief[.]” Id.

              The grants at issue here are not contracts—express or implied—subject to the

        Tucker Act. 28 U.S.C. § 1491(a)(1). The Tucker Act’s implied exception is narrow;

        courts routinely reject the “‘broad’ notion ‘that any case requiring some reference to

        or incorporation of a contract is necessarily on the contract and therefore directly

        within the Tucker Act[.]’” Crowley Gov’t Servs., Inc. v. Gen. Servs. Admin., 38 F.4th

        1099, 1107 (D.C. Cir. 2022). A more capacious approach would improperly “deny

        a court jurisdiction to consider a claim that is validly based on grounds other than a

        contractual relationship with the government.” Megapulse, Inc. v. Lewis, 672 F.2d

        959, 968 (D.C. Cir. 1982).

              As an initial matter, the plain language of the Tucker Act encompasses

        “contracts”—not “grants.” Grants are used to carry out a public purpose of support

        or stimulation. See 31 U.S.C. § 6304 (recognizing the appropriateness of grant

        agreements where the principal purpose “is to transfer a thing of value . . . to carry

        out a public purpose of support or stimulation[.]”). In contrast, contracts are used for

        the principal purpose of acquiring property or services for the direct benefit of the

        United States government. See 31 U.S.C. § 6303 (recognizing the appropriateness

        of procurement contract where the principal purpose “is to acquire . . . property or



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        services for the direct benefit or use of the United States[.]”). The statute here should

        be given its plain meaning. Where Congress expressly used the term “contract”—

        and is presumed to say what it means and mean what it says—this Court should not

        expand the scope of the statute without a textual basis to do so.

              In the Uniform Grants Guidance, 2 C.F.R. § 200, the source of the provision

        being used by the government to terminate the grants, contracts are expressly

        defined. A contract is “a legal instrument by which a recipient or subrecipient

        conducts procurement transactions under a Federal award.” Grants are also expressly

        defined. A grant is “a legal instrument of financial assistance . . . used to enter into

        a relationship, the principal purpose of which is to transfer anything of value to carry

        out a public purpose authorized by a law of the United States and not to acquire

        property or services for the Federal agency or pass-through entity’s direct benefit or

        use.” The Tucker Act says nothing of grants, and the awards issued under the TQP,

        SEED and TSL programs are not “contracts” under the definition of that term, either.

        There is, as a result, no basis to conclude that “grants” are “contracts,” under either

        the Uniform Grants Guidance or the Tucker Act.

              Grants are unlike contracts in other ways, too. They lack consideration; that

        is, they do not provide a “tangible” and “direct” benefit to the government. Am. Near

        E. Refugee Aid v. U.S. Agency for Int’l Dev., 703 F. Supp. 3d 126, 132 (D.D.C.

        2023). The advancement of “policy interests” or “generalized benefit[s]” is not a



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        “benefit” to the United States that would amount to consideration. Id. at 133-34.

        Even the existence of an actual contract in the background (which the grants here

        are not) does not insulate the Government from challenges to illegal agency action,

        which the action at issue here patently is. See, e.g., Crowley, 38 F.4th at 1102

        (holding that APA claim challenging agency’s authority belonged in district court

        because plaintiff “d[id] not seek to enforce or recover on [a] contract” and did not

        “seek monetary relief”); see also Normandy Apartments, Ltd. v. U.S. Dep’t Housing

        & Urban Dev., 554 F.3d 1290, 1300 (10th Cir. 2009).

                         2. The Source of Rights and Type of Relief Sought Here Favor
                            Jurisdiction Because Appellees’ Claims Challenge Agency
                            Overreach.

              First, this action challenges broad agency overreach—the heart of the APA.

        See Bowen, 487 U.S. at 904-05. The same would be true if Appellees challenged

        only a single grant termination, but it is even more evident in the case here of an

        official agency policy that violates the APA and GEPA, federal statutes whose

        application to this case the Court of Federal Claims has no jurisdiction to address.

        GEPA specifically—and uniquely—requires that the Department set its grant

        Priorities using notice and comment rulemaking. 20 U.S.C. § 1232(d). Put

        differently, unlike other federal agencies, GEPA is clear with regard to the

        Department of Education alone: the ordinary APA exemption for grant rulemaking

        does not apply to the Department. Id. Congress’ unequivocal determination



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        resoundingly undermines the Government’s argument to the contrary. Because the

        source of Appellees’ rights is derived from federal statute—namely, the APA—such

        claims favor jurisdiction in the district court.

              Second, the relief sought in this case differs from the relief available from a

        Tucker Act claim. Accord Megapulse, 672 F.2d at 968. The analysis turns on

        whether Appellees seek monetary damages. See Crowley, 38 F.4th at 1107. They do

        not. Appellees seek neither a money judgment nor an injunction directing the

        Government to pay a specific sum; instead, Appellees seek declaratory and

        injunctive relief returning the parties to the pre-existing status quo; that is, before

        the Department violated the APA. To determine if a plaintiff seeks injunctive relief

        sufficient to establish jurisdiction, the Court must consider the “essence” of the

        complaint and whether the relief requested is “not . . . incident of, or collateral to, a

        monetary award.” Coleman v. Kendall, 74 F.4th 610, 615–16 (4th Cir. 2023)

        (quoting Randall v. United States, 95 F.3d 339, 347 (1996)). Hinting at a monetary

        award, or where a prevailing plaintiff may obligate the United States to satisfy a

        monetary award does not reduce the essence of a complaint to “seek[ing] monetary

        relief.” Kidwell v. Dep’t of Army, 56 F.3d 279, 284 (D.C. Cir. 1995). 11



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          Faced with a similar issue in Maryland v. Corp. for Nat’l & Cmty. Serv., the U.S.
        District Court for the District of Maryland found this framework persuasive. No.
        1:25-cv-01363-DLB, 2025 WL 1585051, at *24-25 (D. Md. June 5, 2025)
        (“AmeriCorps”). This Court should too.

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              The Supreme Court has made clear that this type of suit may proceed in district

        court because it “is not a suit seeking money in compensation for the damage

        sustained by the failure of the Federal Government to pay as mandated; rather, it is

        a suit seeking to enforce the statutory [and regulatory] mandate itself[.]” Bowen, 487

        U.S. at 900. The “essence” of what Appellees seek is prospective and equitable in

        nature—a declaration that the Department’s terminations are not permitted by law.

        Appellees do not seek money to remedy a loss, see Bowen, 487 U.S. at 895, or

        “specific sums already calculated, past due, and designed to compensate for

        completed labors.” Maine Cmty. Health Options v. United States, 590 U.S. 296, 327

        (2020).

              Instead, the relief sought consists of the ability to continue programmatic

        work under the federal grants. Given that certain of the grants awarded to Appellees’

        members that were terminated had a performance period that lasts beyond this fiscal

        year, prospective relief would include the opportunity to apply for a non-competing

        continuation of such grants as well, which the Grant Recipients cannot do under

        terminated grants. As a result, the only meaningful and appropriate remedy for the

        Department’s violation of the notice-and-comment requirement is enjoin the grants’

        improper termination. Id. at 27. The Court of Federal Claims cannot grant that relief.




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                          3. The Court of Federal Claims Lacks Jurisdiction Here.
              The Federal Circuit has correspondingly made clear that in a case like this, no

        jurisdiction would arise in the Claims Court. See Lummi Tribe of the Lummi Rsrv.,

        Wash. v. United States, 870 F.3d 1313, 1318 (Fed. Cir. 2017) (holding that Court of

        Federal Claims lacks subject matter jurisdiction to order relief providing access to

        grant funds and remarking that “[t]o label the disbursement of [strings-attached

        grant] funds so thoroughly scrutinized and cabined as a remedy for ‘damages’ would

        strain the meaning of the term to its breaking point.”); Nat’l Ctr. for Mfg. Scis. v.

        United States, 114 F.3d 196, 200 (Fed. Cir. 1997) (concluding that sovereign

        immunity does not bar federal district courts’ APA review of the government’s

        refusal to release funding and likening entitlement to funds under a statute to the

        Bowen grant-in-aid applicants, not monetary compensation for losses that plaintiffs

        “will suffer as the result of the withholding of those funds”)). 12


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          Moreover, the “carve-out” to the APA’s waiver of sovereign immunity—that it
        “does not apply ‘if any other statute that grants consent to suit expressly or impliedly
        forbids the relief which is sought’ by the plaintiff,” Match-E-Be-Nash-She-Wish
        Band of Pottawatomi Indians v. Patchak, 567 U.S. 209, 215 (2012) (quoting 5
        U.S.C. § 702)—is inapplicable here. This case does not fall within the three
        categories of cases encompassed by the Tucker Act. See Matthew H. Solomson,
        COURT OF FEDERAL CLAIMS: JURISDICTION, PRACTICE, AND PROCEDURE, at 3-2
        (2016) (internal quotation marks and footnotes omitted) (explaining that the Tucker
        Act “vests the [Court of Federal Claims] with jurisdiction over three distinct causes
        of action against the U.S. government: (1) actions brought pursuant to money-
        mandating statutes, regulations, executive orders, or constitutional provisions; (2)
        actions to recover illegal exactions of money by the United States; and (3) actions
        pursuant to contracts with the United States.”). As a result, “the Tucker Act is not

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              That an injunction may later cause the Government to honor an obligation to

        make payments does not strip the district court of jurisdiction. See Crowley, 38 F.4th

        at 1108 (“[E]ven if the plaintiff filed the complaint with an eye to future monetary

        awards, a district court with otherwise appropriate jurisdiction may hear the claim

        and grant the proper equitable relief.” (quotation omitted)). This encompasses a

        future disbursement of grant funds. Accord AmeriCorps, 2025 WL 1585051, at *25

        (“That the relief requires AmeriCorps to ultimately disburse grant funds does not

        mean monetary damages are the essence of the relief.”) (citing Kidwell, 56 F.3d at

        284). Appellees seek declaratory and injunctive relief declaring the Government’s

        termination of the grants—and their placement on route pay—unlawful. J.A. 46.

        That is nothing like an injunction to pay a specific sum. See Crowley, 38 F.4th at

        1110-12; Normandy Apartments, 554 F.3d at 1296-97. And, even if the Government

        were to pay money to Appellees, that does not strip the district court of jurisdiction.

        See Bowen, 487 U.S. at 893 (noting that where “requested relief will ‘require one




        applicable and cannot forbid the requested relief, either expressly or impliedly.” Katz
        v. Cisneros, 16 F.3d 1204, 1210 (Fed. Cir. 1994).
               “When a statute is not addressed to the type of grievance which the plaintiff
        seeks to assert, then the statute cannot prevent an APA suit.” Match-E-Be-Nash-She-
        Wish, 567 U.S. at 216 (citation and internal quotation marks omitted). The Tucker
        Act (which in relevant part is addressed to contract claims) is not addressed to
        Appellees’ grievances here (that the Termination Letters violated the APA and other
        federal laws), and therefore the Tucker Act cannot prevent suit under the APA.

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        party to pay money to another is not a sufficient reason to characterize the relief as

        ‘money damages.’”).

              The Government’s view appears to be that each affected Grant Recipient

        should file individual Tucker Act claims. But separate and apart from the lack of

        jurisdiction in the Claims Court, because Tucker Act relief is retrospective and

        monetary in nature, the Government seems to be suggesting that each affected Grant

        Recipient file a separate lawsuit each time the Department refuses to reimburse any

        allowable cost. But the staggering inefficiency of this procedure is the least of it

        because it also does not get at the harm that Appellees seek to remedy and would

        effectively preclude any remedy under the APA for facially unlawful acts. Simply

        put, Appellees’ claims are not for the failure to reimburse individual, liquidated

        costs, but rather the Department of Education’s wholesale policy of indiscriminate

        and unlawful grant terminations in violation of federal statute.

                          4. The District Court Cannot be Stripped of Jurisdiction by the
                             Tucker Act Under Circumstances Where There is No
                             Jurisdiction in the Court of Federal Claims.

              “There cannot be exclusive jurisdiction under the Tucker Act if there is no

        jurisdiction under the Tucker Act.” Tootle v. Sec’y of Navy, 446 F.3d 167, 177 (D.C.

        Cir. 2006) (holding that where the complaint is not subject to the jurisdiction of the

        Court of Federal Claims, a federal district court cannot be stripped of jurisdiction by

        the Tucker Act). As recently articulated by the Ninth Circuit in Community Legal



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        Services in East Palo Alto v. United States Department of Health & Human Services,

        the argument that the Tucker Act forbids an APA claim where no jurisdiction lies in

        the Court of Federal Claims “lacks merit” and is “contrary to common sense.” 137

        F.4th 932, 939 (9th Cir. 2025) (concluding that divesting district court of jurisdiction

        of APA claim “conflicts with the ‘strong presumption favoring judicial review of

        administrative action’ that is embodied in the APA.”). Because there is no adequate

        remedy in the Court of Claims, and divesting the district court of jurisdiction over a

        “straightforward APA claim,” J.A. 590, would create a jurisdictional void providing

        no remedy for the deprivation of rights under the APA, the Tucker Act does not strip

        the district court of jurisdiction.

                           5. The Supreme Court’s Order in Department of Education v.
                               California Does Not Change the Fact that Jurisdiction is
                               Proper in the District Court.

               The Government clings to the Supreme Court’s disposition of an emergency

        application for stay pending appeal in Department of Education v. California, 145

        S. Ct. 966 (2025) (per curiam) (“California”), with “barebones briefing, no

        argument,” and two pages of analysis. 145 S. Ct. at 969 (Kagan, J., dissenting).

        California is of limited precedential value and is not binding on this Court. Various




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        federal district courts to have considered this question reached this same

        conclusion. 13

              The Supreme Court’s disposition in California is distinguishable for other

        reasons, too. First, the Supreme Court’s order in California substantially relies on

        the per curiam conclusion that the Government in that case “compellingly argues

        that respondents would not suffer irreparable harm while the TRO is stayed” because

        the respondents represented that they have the “financial wherewithal to keep their

        programs running.” 145 S. Ct. 966, 969. That conclusion is categorically at odds

        with this case, in which irreparable harm has been conceded by the Department, J.A.

        272; J.A. 679, and the evidence in the record here amply reflects that Appellees will

        suffer substantial harm absent an injunction – including forcing many of Appellees’


        13
          See, e.g., AmeriCorps, 2025 WL 1585051, at *27 (observing that the Tucker Act
        analysis in California “does not compel the conclusion that [the district court] lacks
        jurisdiction,” that a stay order “is not a ruling on the merits,” and that California
        “did not overturn Bowen”); Southern Educ. Found. v. U.S. Dep’t of Educ., No. 25-
        1079, 2025 WL 1453047, at *9 n.3 (D.D.C. May 21, 2025) (collecting cases);
        Climate United Fund v. Citibank, N.A., No. 25-698, 2025 WL 1131412, at *9-12
        (D.D.C. Apr. 16, 2025) (concluding that California does not strip the court of
        jurisdiction over plaintiffs’ grant termination claims); Rhode Island v. Trump, No.
        25-128, 2025 WL 1303868, at *6 (D.R.I. May 6, 2025) (concluding that California’s
        “precedential value is limited,” and “does not render this Court an improper forum
        for [plaintiffs’] claims under the APA.”); Woonasquatucket River Watershed
        Council v. U.S. Dep’t of Agric., No. 25-0097, 2025 WL 1116157, at *15 (D.R.I. Apr.
        15, 2025) (retaining jurisdiction over plaintiffs’ APA claims challenging the
        government’s federal funding freeze, and determining California “is not to the
        contrary”); Maine v. United States Dep’t of Agric., No. 25-0131, 2025 WL 1088946,
        at *19 n.8 (D. Me. Apr. 11, 2025) (“[California] does not change the Court’s
        determination that it is a proper forum for this dispute under the APA.”).

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        member organizations to shutter their programs entirely. J.A. 13, 28-43, 679, 707-

        08.

              Second, unlike in California, Appellees seek an injunctive remedy ensuring

        that the Government’s unlawful placement of Grant Recipients’ grants on “route

        pay” conditions does not occur again, in contravention of federal regulations, which

        impede the Grant Recipients from obtaining allowable funds in a timely manner.

        That is paradigmatic APA-based equitable relief not contemplated by the Supreme

        Court’s analysis. J.A. 46. Appellees likewise seek injunctive relief in the form of a

        prohibition on likely additional terminations.

              What is more, the Government suggests that this Court need not resolve the

        impact of Bowen because the “Supreme Court found nothing in Bowen inconsistent.”

        App. Br. at 26. Not so. To the extent that the Supreme Court’s per curiam order

        suggests a premature determination that requiring federal agencies to comply with

        federal regulations in mass-terminating grants equates to an order for “money

        damages,” such a holding would sub silentio overrule Bowen, but the Court cited

        Bowen as good law. 145 S. Ct. at 968. Unless Bowen is actually overruled, it remains

        binding on this Court notwithstanding any hints about what the Supreme Court’s

        future precedents may hold. The consequences of erroneously treating the Supreme

        Court’s order on a preliminary record as binding in this case would cause devastating

        and irreparable harm. Bowen remains binding on this Court and is outcome



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        determinative. See Woonasquatucket River Watershed Council, 2025 WL 1116157,

        at *15 (noting that the court “cannot disregard Bowen . . . [e]ven if it looks like

        [California] has ‘implicitly overruled’” it).

              In sum, and as the district court explained, Appellees “do not seek money

        damages for past wrongs,” J.A. 695; Appellees seek a declaration and “forward-

        looking equitable relief,” the essence of which is to prevent further grant termination,

        (id.); the Court of Federal Claims lacks authority to grant the declaratory and

        injunctive relief Appellees seek, (id.); Appellees’ request for the removal of “route

        pay grant conditions” is necessarily “forward-looking equitable relief” unavailable

        in the Claims Court, (id. at 695-96); and the Complaint invokes a “constellation of

        sources,” including the grants’ authorizing statutes, federal regulations

        implementing same, and GEPA. (id. at 696). Jurisdiction is proper.

              B.     The Department’s Decision to Terminate the Grants was Not
                     Committed to Agency Discretion.

              Seeking to avoid review, the Government also attempts to invoke 5 U.S.C.

        § 701(a)(2), which excludes from the APA’s judicial review provisions agency

        actions “committed to agency discretion by law.” App. Br. at 16, 30. However, that

        exclusion applies only in “rare circumstances” in which a court would have “no

        meaningful standard against which to” review an agency’s discretionary action.

        Dep’t of Com. v. New York, 588 U.S. 752, 772 (2019). “[E]ven if the underlying

        statute does not include meaningful (or manageable) standards, ‘regulations


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        promulgated by an administrative agency in carrying out its statutory mandate can

        provide standards for judicial review.’” Inova Alexandria Hosp. v. Shalala, 244 F.3d

        342, 346 (4th Cir. 2001). The operative question, therefore, is whether a statute or

        regulation provides a “meaningful standard against which to judge the agency’s

        exercise of discretion.” Dep’t of Com., 588 U.S. at 772. The answer here is yes.

              “Meaningful standards” lie within GEPA and the notice and comment

        rulemaking to set Priorities for selecting Grant Recipients. J.A. 704 (reasoning that

        the Government’s argument that the “authorizing statutes confer different levels of

        discretion for awarding funds and for terminating them, the former subject to the

        APA and the latter exempt from same” lacks any authority and “does not pass

        muster.”). The Government’s reliance on Lincoln v. Vigil, 508 U.S. 182 (1993) is

        unpersuasive. The district court accurately highlighted the materially distinguishable

        facts as follows:

              [T]he Indian Health Service’s termination of the Indian Children’s
              Program was exempt from § 533 notice and comment rule making
              based on § 553(b)(A)’s exemption of “rules of agency rulemaking”
              from same. Id. at 197. Here, per the intersection of GEPA and the APA,
              . . . the Department’s “agency priorities” vis-à-vis the Grant Programs
              (and [Appellees’] members’ Grant Awards) are squarely within the
              APA’s notice and comment rule making requirement and, therefore, are
              not correctly categorized as items within “agency discretion” not
              subject to judicial review.




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        J.A. 699. The Government’s fleeting attempt to analogize with Lincoln fails to

        contend with its statutory responsibility to use notice and comment rulemaking to

        set agency Priorities under GEPA, among other obligations under the APA.

              The text of 2 C.F.R. § 200.340(a) also cabins the Department’s authority in

        ways that provide a “meaningful standard” for this Court’s review. See California v.

        U.S. Dep’t of Educ., 132 F.4th 92, 97 (1st Cir. 2025)at *3 (“applicable regulations

        cabin the Department’s discretion as to when it can terminate existing grants”).

        While the Government asserts that it has “significant discretion in determining how

        best to allocate appropriated funds across grant applicants” App. Br. at 32-33, this

        case concerns the termination of grants already awarded to specific recipients.

        Whatever discretion the Department may have when awarding new grants, the

        Government has not shown that it has unreviewable agency discretion to terminate

        existing grants. To the contrary, the text of the termination regulation specifically

        enumerates the four ways federal awards may be terminated. See also Pol’y & Rsch.,

        LLC v. United States Dep’t of Health & Hum. Servs., 313 F. Supp. 3d 62, 75-78

        (D.D.C. 2018) (holding that federal agency’s otherwise-presumptively unreviewable

        decision to halt funding to an agency program was reviewable under the APA




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        because applicable regulations cabined its termination authority and therefore

        provided a standard by which the court could review the agency’s decision). 14

              Finally, Congress’ instructions in the grants’ statutes provides another avenue

        of meaningful standards. Congress has instructed recipients to provide assurances to

        the Secretary that the grant recipients are spending money consistent with the

        purpose of the grant statutes. See California, 132 F. at 98 (“Congress instructed

        recipients to ‘provide assurances to the Secretary,’ including, for example, that

        participants ‘receive training in providing instruction to diverse populations.’”)

        (quoting 20 U.S.C. § 1022e(b)). This limits the Department’s discretion and creates

        “meaningful standard[s] by which to judge the [agency]’s action.” Dep’t of Comm.,

        588 U.S. at 772.

              C.     The District Court Correctly Found that Appellees are Likely to
                     Succeed on the Merits of their APA Claim.

              The Department’s termination of the grants because they were allegedly

        “inconsistent with, and no longer effectuate[], Department priorities” is unlawful

        because it is contrary to statute and regulation the Department is obliged to follow,

        and thus violates the APA. 5 U.S.C. § 706(2)(A) (courts must “hold unlawful and




        14
          The Government’s reliance on Milk Train, Inc. v. Veneman, 310 F.3d 747 (D.C.
        Cir. 2002) is inapposite. Milk Train involved plaintiffs who failed to point to any
        applicable legal standards.

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        set aside agency action, findings, and conclusions” if they are “arbitrary, capricious,

        an abuse of discretion, or otherwise not in accordance with law”).

              An agency action is arbitrary and capricious if the agency has “relied on

        factors which Congress has not intended it to consider, entirely failed to consider an

        important aspect of the problem, [or] offered an explanation for its decision that runs

        counter to the evidence before the agency, or is so implausible that it could not be

        ascribed to a difference in view or the product of agency expertise.” Motor Vehicle

        Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

              As an initial matter, the Department’s grant terminations constitute final

        agency action, reviewable under the APA. 15 The Government conceded as much


        15
           There are two hallmarks of final agency action: first, the action “mark[s] the
        ‘consummation’ of the agency’s decisionmaking process;” and second, it is an action
        by which “rights or obligations have been determined” or “from which “legal
        consequences will flow.” Bennett v. Spear, 520 U.S. 154, 177-78 (1997) (citations
        omitted).
               Here, the Department’s termination of the Grant Recipients’ grants constitutes
        final agency action. The Termination Letters each provide that the “Department
        hereby terminates grant No. [] in its entirety effective 2/[]/25.” This demand for
        immediate compliance with the Department’s position marks the consummation of
        the Department’s decision-making process. As of the date of the Termination
        Letters, the Department stopped providing funding approved by the grants,
        unequivocally terminating the Grant Recipients rights to funding. J.A. 164 (NCTR
        Declaration at ¶ 12); J.A. 181 (AU Declaration at ¶ 12); J.A. 196 (UST Declaration
        at ¶ 12); J.A. 217 (Alder GSE Declaration at ¶ 11); J.A. 241 (Teaching Lab
        Declaration at ¶ 12). Instantly following the halted funding, there was a direct and
        immediate effect on Appellees and their member organizations – without the funding
        from the grants, Grant Recipients cannot continue to operate their teacher
        preparation programs.


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        below, J.A. 316; 538, and does not argue to the contrary in its principal brief to this

        Court.

                 The district court appropriately identified two ways in which the Government

        violated that standard. First, the Department’s termination of the grants for being

        “inconsistent with, and no longer effectuat[ing], Department priorities” is contrary

        to the law. 16 Statute and regulation require the Secretary to publish Department

        Priorities for program grants in the Federal Register, subject to a notice and

        comment period. 20 U.S.C. § 1232(d), 34 C.F.R. § 75.105(b)(2). The Secretary then

        selects allowable Priorities to include in the applications for the grant competitions

        which are published in the Federal Register. 34 C.F.R. § 75.105(c). The Department

        cannot, by law, change Department Priorities unless and until the Department


        16
            The Government misrepresents that § 200.340(a)(4) is a “well-established”
        provision and it provides “broad, indeed, largely unreviewable authority for various
        Executive Branch agencies to terminate funding agreements that no longer serve the
        government’s interests.” App. Br. at 30. That is not so. Under both the 2020 and
        2024 versions of the provision, Appellees are not aware of a single instance prior to
        January 20, 2025 in which the provision was invoked to terminate an award to on
        the grounds that the award does not effectuate new “agency priorities” identified
        after the time of the award. In fact, in 2020, § 200.340 was amended to allow, for
        the first time, an agency to terminate federal award for failure to “effectuate agency
        priorities.” The legislative history of the rule also does not align with the
        Government’s interpretation of broad, unreviewable authority. In fact, responding to
        commenters who raised concerns that the proposed termination language in
        § 200.340 would provide Federal agencies too much leverage to arbitrarily terminate
        awards without sufficient cause, the Office of Management and Budget responded
        that it “deliberated upon these requests and decided as written agencies are not able
        to terminate grants arbitrarily.” 85 F.R. 49509.


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        engages in rulemaking to propose and issue new Priorities. J.A. 673. The current

        administration has not done that, so the current Priorities remain Department

        Priorities. Id. As a result, the grants at issue remain consistent with the current

        Department Priorities, as they were at the time they were awarded. Id. (nothing in

        the record supports a conclusion that “the Department reviewed the grant award of

        each Grant Recipient and, on such review, in fact, found it to run afoul of previously

        lawfully established ‘agency priorities.’”). 17

              Second, even if the Government’s assertion that the “agency priorities”

        referenced in the Termination Letters are not subject to notice and comment

        rulemaking were correct (it isn’t), the district court appropriately held that Appellees

        “still make a clear showing of likelihood of success on their APA claim because the

        Termination Letters fail to provide Grant Recipients any workable, sensible, or

        meaningful reason or basis for the termination of their awards. . . . The Department

        has not provided the ‘reasonable explanation’ of its final agency action the APA

        requires” J.A. 675. The Termination Letters simply list disjunctive, potential ways

        in which a Grant Recipient’s program is “inconsistent” with Department Priorities,

        which “is so broad and vague as to be limitless; devoid of import, even.” Id. A


        17
          The language in Section 200.340(a)(4) regarding “no longer effectuates” agency
        priorities does not authorize an agency to change agency Priorities in the middle of
        an existing grant term. While the Department may set new policy Priorities for future
        grant cycles, it has no authority to do so midstream for existing grants.


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        “reasonable explanation” as mandated by the APA, “considers relevant data and

        articulates a satisfactory explanation for the agency’s decision, ‘including a rational

        connection between the facts found and the choice made.’” J.A. 676 (citing Dep’t of

        Commerce, 588 U.S. at 773).

              “When an agency’s initial explanation ‘indicate[s] the determinative reason

        for the final action taken,’ the agency . . . may not provide new [reasons].” Dep’t of

        Homeland Sec. v. Regents of the Univ. of California, 591 U.S. 1, 21 (2020). The

        Department belatedly asserts that it terminated the grants at issue because they

        shared a “common characteristic (finding DEI)” and points to the declaration of the

        Chief of Staff of the Department to attempt to argue that the Department engaged in

        an individualized review. App. Br. at 39. But the district court properly considered

        this argument below and concluded that even if the declaration, which was

        indisputably not contained in the agency record, was credited as “merely explanatory

        of the original record,” 18 “it fails to remedy that the Termination Letters evinces no

        individualized consideration of Grant Recipient awards and does not shed light on


        18
          The Government’s citations to Roe v. Department of Defense, 947 F.3d 207 (4th
        Cir. 2020) and Rhea Lana, Inc. v. United States, 925 F.3d 521 (D.C. Cir. 2019), App.
        Br. 38, do nothing to advance its argument, as the district court did consider the post-
        hac declaration in its finding. J.A. 677-78. Likewise, the Government’s citation to
        Hall v. McLaughlin, 864 F.2d 868 (D.C. Cir. 1989) is unpersuasive. Hall concerned
        whether the agency ignored its own past decisions and diverged from precedent, not
        whether similarly situated grants sweepingly terminated contemporaneously “is
        required by the APA” as the Government misstates. App. Br. at 39.


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        which of the possible grounds for termination set forth in the disjunctive list applies

        to a termination Letter recipient.” J.A. 677. Because the Termination Letters do not

        provide any “reasonable explanation” for the Department’s actions, the Government

        is unlikely to succeed.

              D.     In the Absence of a Preliminary Injunction, Appellees Suffer
                     Irreparable Harm—and the Government Already Conceded As
                     Much.

              The grant terminations have caused Appellees to suffer irreparable harm.

        Below, the Government expressly conceded as much. J.A. 272; 538. Still, Appellees

        carried their burden and demonstrated the existence of irreparable harm. And, while

        the district court accepted that concession, it nevertheless independently found that

        Appellees “made a clear showing that their members will suffer irreparable harm in

        the absence of an injunction.” J.A. 679. On appeal, the Government sings a

        completely different tune—now arguing that it is the Government that would suffer

        irreparable harm. App. Br. at 39-41. That is wrong twice over. Judicial estoppel

        prevents the Government from taking a position diametrically opposed to that it

        asserted below. Even if this Court considers such a misguided argument—it is

        unavailing where the analysis turns on the likelihood of irreparable harm to

        Appellees, not the Government.

              To obtain a preliminary injunction, a plaintiff must “demonstrate irreparable

        injury is likely in the absence of an injunction.” Winter v. Nat. Res. Def. Council,



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        Inc., 555 U.S. 7, 22 (2008), (emphasis in original, collecting cases); Centro Tepeyac

        v. Montgomery Cnty., 722 F.3d 184, 188 (4th Cir. 2013). “To establish irreparable

        harm, the movant must make a ‘clear showing’ that it will suffer harm that is ‘neither

        remote nor speculative, but actual and imminent.’” Mountain Valley Pipeline, LLC

        v. 6.56 Acres of Land, Owned by Sandra Townes Powell, 915 F.3d 197, 216 (4th Cir.

        2019) (quotation omitted). Harm is irreparable if the injury “cannot be fully rectified

        by the final judgment after trial.” Ass’n of Am. Publishers v. Frosh, 586 F. Supp. 3d

        379, 388 (D. Md. 2022) (quoting Mountain Valley Pipeline, LLC, 915 F.3d at 216;

        Vitkus v. Blinken, 79 F.4th 352, 367 (4th Cir. 2023) (finding existence of irreparable

        harm where no adequate relief could be recovered at the conclusion of trial).

              A mission-oriented organization also has a likelihood of irreparable injury

        where “the ‘actions taken by the defendant have perceptively impaired the

        organization’s program’” and “make it more difficult for [organizations] to

        accomplish [their] primary mission[s].” Open Communities All. v. Carson, 286 F.

        Supp. 3d 148, 177 (D.D.C. 2017); AIDS Vaccine Advoc. Coal. v. United States Dep’t

        of State, No. CV 25-00400 (AHA), 2025 WL 485324, at *4 (D.D.C. Feb. 13, 2025),

        enforced, No. CV 25-00400 (AHA), 2025 WL 569381 (D.D.C. Feb. 20, 2025)

        (finding irreparable injury where loss of funding would make it more difficult to

        accomplish organization’s primary mission).




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              In addition, economic harm may also prove irreparable if it is severe enough

        to threaten an organization’s existence. Packard Elevator v. I.C.C., 782 F.2d 112,

        115 (8th Cir. 1986) (“Recoverable monetary loss may constitute irreparable harm

        only where the loss threatens the very existence of the [plaintiff]’s business.”); see

        also National Ass’n of Diversity Officers in Higher Educ. v. Trump, 767 F. Supp. 3d

        243, 288 (D. Md. 2025) (same); Coal. for Common Sense in Gov’t Procurement v.

        United States, 576 F. Supp. 2d 162, 168 (2008) (“To successfully shoehorn potential

        economic loss into a showing of irreparable harm, a plaintiff must establish that the

        economic harm is so severe as to ‘cause extreme hardship to the business’ or threaten

        its very existence.”) (citations omitted); see also Texas Children’s Hosp. v. Burwell,

        76 F. Supp. 3d 224, 243-44 (D.D.C. 2014) (finding irreparable harm that is economic

        in nature where non-profit completely “shut out” of hospital funding program). “The

        critical consideration under this exception is the effect that the purported economic

        harm will have on a movant’s business or its very existence—not any monetary

        amount per se.” Sterling Commercial Credit—Michigan, LLC v. Phoenix Indus. I,

        LLC, 762 F. Supp. 2d 8, 15 (D.D.C. 2011).




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                          1. The Government Cannot Retreat from Its Concession of
                             Irreparable Harm.

              The Government unequivocally conceded below that Appellees suffer

        irreparable harm absent injunctive relief. J.A. 272; 538. Judicial estoppel—and

        notions of fundamental fairness—prevents it from reversing course. 19

              “[W]here a party assumes a certain position in a legal proceeding, and

        succeeds in maintaining that position, [it] may not thereafter, simply because his

        interests have changed, assume a contrary position, especially if it be to the prejudice

        of the party who has acquiesced in the position formerly taken by him.” New

        Hampshire v. Maine, 532 U.S. 742, 749 (2001) (citation omitted); see also id. (“The

        doctrine of judicial estoppel prevents a party from asserting a claim in a legal

        proceeding that is inconsistent with a claim taken by that party in a previous

        proceeding.”) (internal quotation omitted).

              Several factors inform the applicability of judicial estoppel: (1) “a party’s later

        position must be ‘clearly inconsistent’ with its earlier position”; (2) “whether the

        party has succeeded in persuading a court to accept that party’s earlier position,[20]



        19
           The Government’s arguments in this regard are misguided. The analysis for
        whether injunctive relief will issue pertains to whether or not the party seeking the
        injunction is likely to experience irreparable harm.
        20
          The doctrine of judicial estoppel is “not necessarily confined to situations where
        the party asserting the earlier contrary position there prevailed.” Allen v. Zurich Ins.
        Co., 667 F.2d 1162, 1167 (4th Cir. 1982).

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        so that judicial acceptance of an inconsistent position in a later proceeding would

        create ‘the perception that either the first or the second court was misled’”; and (3)

        “whether the party seeking to assert an inconsistent position would derive an unfair

        advantage or impose an unfair detriment on the opposing party if not estopped.” New

        Hampshire, 532 U.S. at 750-51 (citations omitted).

              Each factor is easily satisfied here. First, the Government takes a position

        completely opposite of that it endorsed below. J.A. 272; 286; 538; 609-10. Second,

        the Government clearly persuaded the district court to accept that representation.

        J.A. 679 (“Defendants do not dispute Plaintiffs will suffer irreparable harm in the

        absence of an injunction.”). Third, the Government would derive an unfair advantage

        if not estopped. That is, the Government deprived the district court of the ability to

        consider the issue and Appellees of the ability to make a more fulsome record.

              In moving to stay the district court’s opinion, the Government attempted to

        retreat from its concession of irreparable harm; however, the district court rebuffed

        that attempt. J.A. 707 (rejecting the Government’s “inappropriate effort to generate

        a dispute on this point for the first time[.]”). To prevent the Government from

        “‘playing fast and loose’ with the courts, and to protect the essential integrity of the

        judicial process,” this Court should similarly reject the Government’s attempt to

        create an issue of the irreparable harm suffered by Appellees in the absence of a

        preliminary injunction. Allen v. Zurich Ins. Co., 667 F.2d 1162, 1166 (4th Cir. 1982).



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                         2. Appellees   Demonstrated, and the District              Court
                            Independently Assured Itself, that Appellees            Suffer
                            Irreparable Harm Absent Injunctive Relief.

              Even if this Court considers the Government’s about-face, which it should

        not, Appellees easily demonstrated the likelihood of irreparable injury below. The

        Grant Recipients are being deprived of essential funding required to continue their

        teacher preparation programs. Without injunctive relief, the Government’s actions

        unlawfully depriving them of funding will:

           − Force many Grant Recipients to shutter their programs, including teacher
             preparation programs designed to support educators in critical areas of need,
             including special education and early childhood education. See e.g., J.A. 181-
             82 (AU Declaration at ¶ 13).

           − Significantly reduce the Grant Recipients’ ability to address the on-going
             teacher shortage and cause an exacerbation of the teacher shortage, especially
             in rural and urban communities, across the country. See e.g., J.A. 165-66
             (NCTR Declaration at ¶ 18); J.A. 218 (Alder GSE Declaration at ¶ 16).

           − Result in termination of employment for the dedicated staff members,
             coaches, and grant managers who work to make the teacher preparation
             programs run. See e.g., J.A. 165 (NCTR Declaration at ¶ 14); J.A. 182 (AU
             Declaration at ¶ 16); J.A. 219 (Alder GSE Declaration at ¶ 17); J.A. 242-43
             (Teaching Lab Declaration at ¶¶ 19-20).

           − Result in a widespread cut and/or reduction of scholarships and living wage
             stipends for future educators to pursue degrees in education in underserved
             rural, urban, suburban, and exurban communities. See e.g., J.A. 194 (UST
             Declaration at ¶¶ 7-8); J.A. 217-18 (Alder GSE Declaration at ¶¶ 13-15).

           − Result in a widespread cut and/or reduction of mentor teacher stipends for
             teachers in K-12 schools who work to train and develop new teachers in areas
             of high-need. See e.g., J.A. 217-18 (Alder GSE Declaration at ¶¶ 13-15).




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           − Cut curriculum-based professional learning and coaching services designed to
             improve teacher practice and student learning at over 40 K-12 schools and
             result in a loss of a rigorous study to help school districts evaluate how best
             to spend their limited funds and limited teacher development time and
             resources. J.A. 240-43 (Teaching Lab Declaration at ¶¶ 9, 17-18, 21-22).

           − Lead to a decline in enrollment at many of Appellees’ member organizations.
             This includes a decline in current enrollment for students participating in
             teacher preparation programs who will no longer be able to afford to attend
             Appellees’ member organizations due to the termination of funding supplied
             for stipends, support for licensure examinations and tutoring, and tuition
             assistance. The termination of grants also impairs the ability of Appellees’
             member organizations to recruit future students. See e.g., J.A. 181-82 (AU
             Declaration at ¶ 13); J.A. 218 (Alder GSE Declaration at ¶¶ 14-15); J.A. 165
             NCTR Declaration at ¶ 14).

              For the Grant Recipients, the harm is actual, not theoretical, as the funding

        was terminated in February 2025, immediately resulting in many of the Grant

        Recipients’ inability to continue their programs. The harm to the participants was

        even more impactful given that the terminations occurred in the middle of the school

        year. Similarly, for any Grant Recipients whose grants have not yet been terminated,

        but whose termination is forthcoming, and similarly situated to the grants at issue

        here, the imminence of their injuries is evident from the Department’s publicly-

        articulated desire to cut these grants used to train teachers and the plain language of

        the directive from Executive Order 14151 to take immediate action with at most 60

        days from the date of the January 20, 2025 order. It is clear that the Department

        swiftly moved to eliminate funding for teacher preparation grants. The harm that this




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        loss of funding will cause nationally is likewise immense, strangling the viability of

        the teacher preparation programs that schools and communities desperately need. 21

              The termination of the grants also completely eviscerates Appellees’ missions

        to “elevate education and educator preparation through research, professional

        practice, advocacy, and collaboration,” to “transform educator preparation by

        advancing the teacher residency movement to prepare, support, and retain more

        effective educators who represent and value the communities they serve” and to

        “serve as a distinct statewide voice on matters of importance to educator preparation

        programs at [] colleges and universities.” 22 Without the TQP, SEED, and TSL grants

        to fund the teacher preparation programs, Appellees and their member organizations

        will no longer be able to prepare/support and retain educators, which not only

        thwarts their missions, but also has a devastating impact on the communities they

        serve. With the loss of funding and slashed programs, Appellees’ member


        21
          Were the Court to agree with the Government, it would pose serious separation of
        powers and appropriations concerns. Congress has the exclusive power of the federal
        purse and the Executive Branch is constitutionally constrained from overriding or
        disregarding Congressional appropriations. See U.S. Const. art. I, § 9, cl. 7; U.S.
        Const. art. I, § 8, cl. 1. In FY 2024, Congress appropriated $90 million for SEED,
        $70 million for TQP, and $60 million for TSL. Public Law No: 118-42. If these
        grants remain terminated, and the funds will not be used in the way that Congress
        appropriated them, such a course may run afoul of the Appropriations Clause and
        the separation of powers doctrine.
        22
                See     https://aacte.org/about/;  https://nctresidencies.org/about-nctr/,
        https://mactemaryland.wixsite.com/maryland-association.


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        organizations will no longer be able to support and train teaching candidates to work

        in partner K-12 schools. Many pre-K through year 12 schools rely on the teacher

        preparation programs funded by the TQP, SEED, and TSL grants to support their

        students. For example, without their TQP grant funding, American University will

        no longer be able to fund additional cohorts of its teacher residency program. As a

        result, the Washington D.C. Friendship Public Charter Schools will lose the support

        of the teacher candidates working in their early childhood and special education

        classrooms. J.A. 181-82 (AU Declaration at ¶ 13). The University of St. Thomas will

        no longer be able to fund a majority of scholarships for undergraduate and graduate

        students who are pursuing teacher licensure and degrees in special education and

        elementary education. J.A. 194 (UST Declaration at ¶¶ 6, 7). The stipends for Alder

        Graduate School of Education’s aspiring teachers and mentor teachers at its partner

        K-12 school systems will lose the majority of their funding, resulting in expected

        harm of over $2 million for the partner K-12 school systems. J.A. 217-18 (Alder

        GSE Declaration at ¶¶ 13-16). Teaching Lab will no longer be able to provide

        professional learning and coaching services to over 40 K-12 schools. J.A. 240-42

        (Teaching Lab Declaration at ¶¶ 9, 17-18). NCTR’s thirteen teacher residency

        programs that were funded by a terminated grant are all in jeopardy, depriving

        Appellee NCTR of its ability to serve K-12 school districts where there is a high




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        turnover and shortages of teachers and prepare educators for careers to help mitigate

        these teacher shortages. J.A. 165-66 (NCTR Declaration at ¶ 18).

              The Grant Recipients were harmed, and are likely to be harmed again, by the

        Department’s special condition put on the grants during their period for drawing

        down the funds. Generally, unless a grantee poses a specific risk, they can draw

        down funds from their grant award based on the allowable, allocable and reasonable

        costs approved in their grant budget without prior approval. Here, the Department

        added a special condition to impacted grants after they were terminated requiring

        prior approval for them to draw down funds. The grantees are eligible for costs that

        were properly incurred before their termination date and costs that would not have

        occurred if the grant was not terminated. 23

              The regulations that govern federal grants set the reasons that the Department

        can put conditions on grants and the requirements for notice prior to doing so.

        Imposing a special condition, such as establishing additional prior approvals, on a

        grant can only be done if the grantee is determined to pose a risk. Factors that may

        be considered are financial stability, quality of management systems and standards,

        history of performance, audit reports and filings, ability to effectively implement




        23
          Grantees have 120 days to draw down the funds after the termination date. 2 C.F.R.
        §§ 200.472, 200.343, 200.344(b).

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        requirements, history of compliance with conditions of a federal award, or a

        responsibility determination. 2 C.F.R. § 200.208.

              Before conditions are placed on a grant, the agency must notify the grantee as

        to: (1) the nature of the additional requirements; (2) the reason why the additional

        requirements are being imposed; (3) the nature of the action needed to remove the

        additional requirement, if applicable; (4) the time allowed for completing the actions

        if applicable; and (5) the method for requesting reconsideration of the additional

        requirements imposed. Id.

              Without notice or any finding of individual grantee risk, the Department put

        a blanket condition on the terminated grants to require prior approval for all

        remaining drawdowns. This new, unlawfully-imposed condition has caused, and

        likely will cause again, delays in the Grant Recipients receiving their grant funds

        and potential subjectivity added to disturbing already approved costs.

              E.     The Balance of Equities and Public Interest Favor Injunctive
                     Relief.

              With regard to the final two factors, which merge for purposes of this analysis,

        courts “must balance the competing claims of injury and must consider the effect on

        each party of the granting or withholding of the requested relief.” Ass’n of Am.

        Publishers, 586 F. Supp. 3d at 388 (quoting Winter, 555 U.S. at 23).




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              The Government’s “public fisc” argument is newfound on appeal. 24 Before

        the district court, the Government’s argument with regard to these factors turned on

        the Government’s interest in ending discrimination, the “public interest in ending

        DEI,” and the “interest of more than seventy-seven million people who voted for

        President Trump in the 2024 Presidential election.” 25 J.A. 286-88. Indeed, at oral

        argument below, the Government described the harm to the “common American” as

        “less existential than what [Appellees] feel here.” J.A. 612. Rejecting these

        arguments, the district court explained that “a member of the public who is opposed

        to government funding of Grant Programs that relate to DEI does not outweigh the

        asserted concrete, irreparable harm in the form of programmatic closures, staff

        terminations, and loss of funding of teacher preparation programs [Appellees] and




        24
           As such, the Government’s arguments on this point are neither supported by the
        record nor properly before this Court. See, e.g., Real Time Med. Sys Inc. v.
        PointClickCare Techs., Inc., 131 F.4th 205, 223-24 (4th Cir. 2025) (“[A]rguments
        that a defendant might make on appeal from an order granting a preliminary
        injunction are subject to the same rules as with any appellant: we may deem an
        argument not properly before us if the defendant fails to sufficiently raise it before
        the district court or in its opening brief.”) (emphasis added); U.S. Dep’t of Lab. v.
        Wolf Run Mining Co., 452 F.3d 275, 283 (4th Cir. 2006) (failure to raise argument
        against grant of preliminary injunction before district court equated to failure to
        preserve same on appeal).
        25
          The Government’s argument with regard to those individuals who cast a vote for
        President Trump all did so because of his “DEI agenda,” J.A. 287, is seemingly
        impossible to prove.

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        [Appellees’] members will experience should the injunction not issue.” J.A 681.

        That assessment is correct and should be affirmed.

              The Government’s argument, which is purely speculative, ignores the many

        regulatory safeguards designed to protect the Government from the very harms it

        asserts are irreparable. TQP, SEED and TSL grants are obligated for one fiscal year

        at a time. Various regulatory provisions prevent illegal drawdown of grant funds—

        the sort which the Government apparently contends might occur in the absence of a

        stay. See 2 C.F.R. § 200.305(b) (limiting advanced payments to minimum amounts

        needed and aligning timing with actual, immediate cash requirements of grant

        recipient); 2 C.F.R. § 200.302(b)(3) (requiring that costs incurred be supported by

        “source documentation” such as invoices or receipts); 2 C.F.R. § 200.337(a)

        (requiring that grant recipients keep records demonstrating their compliance with

        these financial management requirements and must provide access to these records

        to the authorized representatives of the Agency for any official use).

              Moreover, Federal regulations permit the Government to recover funds that

        were drawn down for unallowable costs. 2 C.F.R. § 200.410 (allowing federal

        agencies’ recovery of unallowable costs with interest); 2 C.F.R. § 200.345(a)(1)

        (permitting agency “to disallow costs and recover funds on the basis of a later audit

        or review”). In compliance with the preliminary injunction, the Department restored

        the grants as of March 24. The Government points to no “immediate outflow of



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        significant amounts of money” between March 24 and April 10 when the grants were

        terminated again, which, were the Government’s argument not entirely speculative,

        would be expected to have happened already if it were likely to happen at all. The

        Government has not established irreparable injury.

              Requiring the Department to continue the Grant Recipients’ grants would

        continue the status quo that would have resulted had the Department not unlawfully

        terminated the grants. The Government suffers no harm if the preliminary injunction

        remains, just as it suffered no harm from the status quo before the grants were

        terminated. Even if the Government were right that it too would suffer “irreparable

        harm” by fulfilling its obligations under the law, that harm, in the context of federal

        spending as a whole, is miniscule; for Appellees members, it is existential. When

        the Court balances the equities, it does not find the complete collapse of the federal

        government’s operations on one side of the ledger, but that is precisely what

        Appellees’ members are facing. The Grant Recipients’ teaching preparation

        programs provide an essential service furthering important public interest in

        education that will be destroyed absent Court intervention. Accordingly, the balance

        of equities and public interest favor injunctive relief.

              F.     The Preliminary Injunction is Properly Tailored.

              In issuing a preliminary injunction, the district court appropriately tailored its

        order to apply to the TQP, SEED, and TSL grant awards of NCTR and Appellees’



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        member grant recipients. J.A. 686. The district court gave careful consideration to

        the scope of its injunction, J.A. 681-82, and there is no reason for this Court to

        constrain it.

               Appellees initiated this litigation in their own right and on behalf of their

        individual members. The preliminary injunction properly encompasses the

        terminated grants of Appellees’ members, the precise equitable and prospective

        relief sought in the Complaint. J.A. 46 (requesting relief on behalf of all individual

        Grant Recipients).

               The Government’s passing attempt to suggest that there can be no irreparable

        harm to individual Grant Recipients rings hollow where, below, the Government

        conceded the existence of irreparable harm in the absence of an injunction and it

        belies the district court’s sound finding to the contrary. J.A. 679 (“Plaintiffs have

        made a clear showing that their members will suffer irreparable harm[.]”) (emphasis

        added). The preliminary injunction is not overbroad.

               The Government’s suggestion that the preliminary injunction should be

        limited in scope fails for an additional reason: it does not acknowledge that

        Appellees alleged that all of the grant recipients are similarly situated. J.A. 15 at ¶ 6

        (“All of the Grant Recipients are similarly situated because the substance of each

        Termination Letter and added terms and conditions in the [GANs] from the

        Department are identical, indicating the same reasons with the same terminology for



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        the grant terminations.”).

              Simply providing equitable and prospective relief to the member

        organizations which submitted Declarations in conjunction with the Complaint

        would deprive all of the similarly situated member organizations the relief to which

        they are similarly entitled and subject them to harm that the Government has already

        conceded is irreparable. Accordingly, it would be inequitable for relief to be limited

        in the manner suggested by the Government.

              After thorough consideration of the scope of the preliminary injunction, the

        district court limited its order in a manner “no more burdensome than necessary to

        provide complete relief to [Appellees] and those similarly situated, and subject to

        the Termination Letter, or substantially the same Grant Program termination letters,

        pursuant to the Department’s apparent categorical policy.” J.A. 682. It ordered the

        Government to

              reinstate the Grant Awards for [Appellees’] members who are Grant
              Recipients (including NCTR), in accordance with the GAN Terms and
              Conditions in place immediately prior to the Termination Letters. The
              court will further order that [the Government] shall not undertake to
              terminate, or terminate, any TQP, SEED, and TSL awards in a manner
              this court has determined is likely unlawful as violative of the APA[.]

        J.A. 682.

              The district court’s preliminary injunction is consistent with the approach of

        other federal district courts that have granted injunctive relief to prospective

        members. See Kansas v. Dep’t of Educ., No. 24-cv-4041-JWB, 2024 WL 3471331,

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        at *3 (D. Kansas July 19, 2024) (collecting cases); see also id. (noting where an

        organization obtains “something of value through litigation, nothing prohibits

        members of the general public from trying to benefit from that by . . . joining the

        organization”).

              The Government has not pointed to any contrary authority. The scope of the

        preliminary injunction is appropriately tailored.

                                           CONCLUSION

              This Court should affirm the decision of the district court.



                                             *     *        *

                                    [signatures follow on next page]




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        Date: July 16, 2025              Respectfully submitted,

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                             CERTIFICATE OF COMPLIANCE

              This document complies with the word limit of Federal Rule of Appellate

        Procedure 32(g), because excluding the parts of the document exempted by Rule

        32(f), this document contains 12,986 words as calculated by Microsoft Word.

                                             /s/ Daniel M. Moore
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                                   CERTIFICATE OF SERVICE

              I hereby certify that on this 16th day of July, 2025, I electronically filed the

        foregoing brief with the Clerk of the Court for the United States Court of Appeals

        for the Fourth Circuit using the Court’s CM/ECF system upon all persons entitled to

        service.


                                               /s/ Daniel M. Moore
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